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       1                 IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
       2                         NORFOLK DIVISION

       3    -----------------------------------
            BRIDGET EDWARDS,
       4

       5                                Plaintiff,        CIVIL ACTION NO.
                                                             2:10cv165
       6    v.

       7    MURPHY BROWN, L.L.C.,

       8                            Defendant.
            -----------------------------------
       9    FELICIA D. TENNESSEE,

      10
                                        Plaintiff,        CIVIL ACTION NO.
      11                                                     2:10cv167
            v.
      12
            MURPHY BROWN, L.L.C.,
      13
                                    Defendant.
      14    -----------------------------------

      15

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      17

      18
                            DEPOSITION UPON ORAL EXAMINATION
      19                             OF LEWIS EPPS,
                            TAKEN ON BEHALF OF THE PLAINTIFFS
      20

      21                             Waverly, Virginia

      22                               August 5, 2011

      23

      24

      25

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                                                                               2


       1    Appearances:

       2         KAUFMAN & CANOLES, P.C.
                 By: JOHN M. BREDEHOFT, ESQUIRE
       3              MARK E. WARMBIER, ESQUIRE
                      Counsel for the Defendant
       4
                 THE EMINENT DOMAIN LITIGATION GROUP, P.L.C.
       5         By: HENRY W. HOWELL, III, ESQUIRE
                      Counsel for the Plaintiffs
       6
            Also present:     Mary Beth Williams
       7                      Bridget Edwards
                              Felicia D. Tennessee
       8

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       1                               I N D E X

       2
            DEPONENT              EXAMINATION BY                          PAGE
       3
            LEWIS EPPS            MR. HOWELL                                4
       4                          MR. BREDEHOFT                            32

       5

       6

       7                               EXHIBITS

       8
                                        (NONE)
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       1                     Deposition upon oral examination of

       2    LEWIS EPPS, taken on behalf of the Plaintiffs, before

       3    Kathleen Beard Adams, RPR, CCR, CRR, a Notary Public for

       4    the Commonwealth of Virginia at large, taken pursuant to

       5    notice, commencing at 12:35 p.m., on August 5, 2011, at the

       6    offices of Murphy Brown, L.L.C., 434 East Main Street,

       7    Waverly, Virginia; and this in accordance with the Federal

       8    Rules of Civil Procedure.

       9                                - - - - -

      10                     LEWIS EPPS was sworn and deposed on behalf of

      11    the Plaintiffs as follows:

      12

      13                              EXAMINATION

      14

      15    BY MR. HOWELL:

      16            Q.       Mr. Epps, I don't think you had that much

      17    choice, but I still thank you for coming this morning.

      18            A.       You're welcome.

      19            Q.       Hank Howell.    I go by Hank.    Henry Howell

      20    representing these ladies over here, Mrs. Felicia Tennessee

      21    and Ms. Bridget Edwards, in some litigation, with Henry

      22    Marsh, who associated me to help him out on the case.           And

      23    I've been doing that, so we're here today to ask some

      24    questions and get some information.

      25            A.       Okay.

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       1          Q.      And I'll try to be as efficient as I can and

       2    try to make my questions understandable so that I'm not

       3    asking you when you stopped beating your wife, for

       4    example, a trick question, or kicking your dog.                I

       5    don't know what.       I've got to come up with something

       6    more politically correct as an unfair question.

       7                  Okay.    Mr. Epps, please introduce yourself

       8    and give your employment.

       9          A.      My name is Lewis Epps.         I work for Murphy

      10    Brown.

      11          Q.      What is your position?

      12          A.      Production manager.

      13          Q.      How long have you been with Murphy Brown,

      14    approximately?

      15          A.      23 years.

      16          Q.      Wow.    How did you get started with them?

      17          A.      My dad ran a dairy farm and I heard about the

      18    hog operation getting developed in Ivor and ended up

      19    coming to work for Carroll Foods at the time and have

      20    been here every since.

      21          Q.      And what type of work did you do beginning

      22    with Carroll Foods?        You know, were you production

      23    manager then?

      24          A.      Oh, no, sir.      I started out in the finishing

      25    department, farrowing house, and the breeding barns on

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       1    the farm.      So I was a regular employee, Farm 3.

       2           Q.     Farm 3?

       3           A.     Yes, sir.

       4           Q.     Is that near Ivor?

       5           A.     Yes, sir.     About six miles away.

       6           Q.     So how did you progress up -- I know it can

       7    be a long or a short story, but just briefly -- to

       8    production manager?

       9           A.     I started out, like I say, on the farm.              I

      10    was on Farm 3 for nine months, then got transferred to

      11    Farm 12.      Then was promoted to manager April of '89,

      12    which is about 12 -- 14 months later from the day I got

      13    hired.      Managed 14 for three years.         Then I transferred

      14    to Farm 1 and managed that farm.            I managed that farm

      15    until '94.      In '94 I became production manager.

      16           Q.     Have you had the same farms under you as

      17    production manager since '94?

      18           A.     Oh, no, sir.      They change as our production

      19    director feels like.

      20           Q.     Okay.

      21           A.     You might keep the same farm for a year or

      22    two.     There's no rhyme or reason to it.

      23           Q.     How many -- well, what farms did you have

      24    under you in 2007, 2008?

      25           A.     I had 6, 7, 8.       I believe Farms 1, 2, 3, 4.

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       1    And 5, I believe.        I'm not sure about that, but I know

       2    I had 6, 7, 8.

       3          Q.      Is the normal grouping about eight farms

       4    under a production manager?

       5          A.      It depends on the number of pigs per farm and

       6    how much that production manager can handle from area,

       7    from the farms that are far apart or close by.                So I've

       8    had as few as five and as many as ten.

       9          Q.      Who worked under you -- well, let me just

      10    say, 6, 7, and 8 are kind of grouped together outside

      11    of Ivor?

      12          A.      Yes.

      13

      14                   (An off-the-record discussion took place.)

      15

      16    BY MR. HOWELL:

      17          Q.      Would the farm managers report to you?

      18          A.      Yes.

      19          Q.      Directly?

      20          A.      Yes.

      21          Q.      I just want to focus on 6, 7, and 8.

      22          A.      Uh-huh.

      23          Q.      Around '07 and '08 who was manager of 6, if

      24    you remember?        Farm 6.

      25          A.      The manager of 6 was Emily Bunn.

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       1          Q.      And 7?

       2          A.      Was her husband, Ken Bunn.

       3                  MR. BREDEHOFT:       Can you spell Bunn for the

       4    court reporter?

       5                  THE DEPONENT:      B-U-N-N.

       6

       7    BY MR. HOWELL:

       8          Q.      And then Leigh Flournoy was at 8?

       9          A.      Yes.

      10          Q.      As of January '08, how long, approximately,

      11    had Emily Bunn been manager of 6?            Two or three years

      12    or --

      13          A.      At least a year.       I really don't know.

      14          Q.      How about Ken Bunn on Farm 7?           How long had

      15    he been out there under you?

      16          A.      Probably two or three years.           He was there

      17    longer.

      18          Q.      Do you remember a Joyce Nichols working under

      19    Ken Bunn on Farm 7 or 6?          Joyce Nichols?

      20          A.      Yes.

      21          Q.      Okay.    Do you remember any incident in '06

      22    when Ken Bunn would have reported to you a contact

      23    between Joyce and a Hispanic worker, a male worker,

      24    that there had been touching on the weekend?

      25          A.      No.

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       1          Q.      You don't remember that?

       2          A.      No.

       3          Q.      Nothing like that?

       4          A.      No, sir.

       5          Q.      Okay.     Does Ken Bunn still working at 7?

       6          A.      No.

       7          Q.      Where is he now?

       8          A.      He's production manager --

       9          Q.      Oh.     Okay.

      10          A.      -- here in Waverly.

      11          Q.      Good.     Does he have farms?

      12          A.      Yes.

      13          Q.      Okay.     Is Emily Bunn still at 6 or has she

      14    moved?

      15          A.      She has moved to a farm in Carolina.

      16          Q.      When did Murphy Brown start employing

      17    Hispanic workers?

      18          A.      Let's see.      I'd say eight years ago.

      19          Q.      What did you observe as the beginning of the

      20    Hispanic workers coming in and how they progressed to

      21    '08 in terms of the mix of workers under you?                Did one

      22    come and then two come or three come, did six come all

      23    at once, or -- I don't know.

      24          A.      They slowly progressed in.          I'm not sure how

      25    many were hired -- like when the first one started we

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        1    might have hired three.         I really don't know, but I

        2    know what we did was the managers that we had that

        3    could communicate with them, that could speak Spanish,

        4    were the ones that we slid them over and transferred

        5    some of their crew over to other farms so we could get

        6    these guys trained because the English managers, like

        7    myself, they speak no English, so I really couldn't

        8    communicate with them.         So that was what we felt like

        9    we could do to help, you know, giving them employment,

      10     because we had a hard time finding staff.              So this is

      11     what we felt we could do to get guys trained faster.

      12           Q.      And by finding staff you mean within the area

      13     of south side, around the farm operations, it was hard

      14     staffing the positions in the various departments of

      15     the farms; is that what you're saying?

      16           A.      Yes.

      17           Q.      And so some decision was made to start

      18     recruiting out of south of the Rio Grande, Mexico?

      19           A.      Oh.     No, no, no, no.

      20           Q.      Okay.

      21           A.      It was whatever came in the door came in the

      22     door.      They progressed to here, as far as I know.

      23           Q.      Okay.

      24           A.      Yeah.     We did not go communicate, try to hire

      25     them in, no.

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        1          Q.      Okay.     There are Mexican -- I mean, there are

        2    operations of Smithfield in Mexico.            That's why I bring

        3    it up.

        4          A.      Yeah.

        5          Q.      To your knowledge, that's not really part of

        6    the beginning of hiring Mexican workers on these farms?

        7    It was more they showed up here and they were processed

        8    and hired?

        9          A.      Yeah.

      10           Q.      Were you involved in hiring at all?

      11           A.      No.     I mean, they go to the farm, the manager

      12     in some cases would interview some, some of them they

      13     didn't, and they would call back to the office and say,

      14     Yes, hire, or, No, do not hire.

      15           Q.      I see.

      16           A.      Managers did that.

      17           Q.      So, first, the potential -- the applicant for

      18     the job who shows up but is not -- is an alien worker,

      19     shows up at Murphy Brown here in Waverly or somewhere

      20     else do they go to first seek employment, if you know?

      21           A.      They would have to come here to file

      22     applications.

      23           Q.      Okay.     So they file applications.         The

      24     process -- and at some point they go out to the

      25     manager, who talks to them or checks them out, and then

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        1    the manager calls back and says, Hire, or, Don't hire.

        2          A.      Yeah.    And they may just be interviewed at

        3    the window at the farm, you know, just seeing who they

        4    are, you know, what kind of worker they might have.

        5    Some cases they shower in and take them through the

        6    facility.     It all depends, you know, on the manager and

        7    the time constraints that they're under.

        8          Q.      All right.     So you mean they could show up

        9    right there, have them fill out an application?

      10           A.      Oh, no, no, no.       The office would send them.

      11           Q.      The office would send them.

      12           A.      Yeah.

      13           Q.      I got you.

      14           A.      Yeah.

      15           Q.      Okay.

      16           A.      They've all been cleared through here first.

      17           Q.      Do you know anything of the process of

      18     clearing them here?

      19           A.      No, I don't.      I do not.

      20           Q.      All right.     Before January '08 had you as

      21     production manager received any complaints from female

      22     employees about conduct of Hispanic male workers before

      23     January '08?

      24           A.      Before January '08?

      25           Q.      Yeah.    I mean, the Mexicans came -- were

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        1    there for -- well, you said --

        2          A.      Five.

        3          Q.      -- yeah, like five years before January '08

        4    or something, a period of time.           And in that timeframe

        5    had you as production manager had any female workers,

        6    non-Mexican, non-Hispanic, come to you to complain

        7    about any behavior of male Hispanic workers?

        8          A.      Not other than this situation we're in now.

        9          Q.      This is the first time?

      10           A.      Yes.

      11           Q.      Okay.    How well did you know the Hispanic

      12     workers working on Farm 8 at the time of this door

      13     incident?

      14           A.      I knew who they were at the farm, but being I

      15     couldn't speak to them, and of course they couldn't

      16     speak to me, it was limited, you know, interaction.

      17     When I would go to the farm the manager -- I would talk

      18     to the ladies here present who I could communicate to

      19     in their department and then the Hispanic guys I would

      20     just talk to the manager and he would address them

      21     later with issues that I saw.

      22           Q.      Do you know whether Mrs. Flournoy knows

      23     Spanish?

      24           A.      She knows some.

      25           Q.      Some.

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        1          A.      Yes.    How much I don't know, but she does.

        2    She can communicate a little bit.

        3          Q.      All right.     Would you be able to name them by

        4    name if you had to?

        5          A.      No.

        6          Q.      All right.     Did you review anything to

        7    prepare for the deposition today?

        8          A.      No.

        9          Q.      All right.     Let me -- I've got names of these

      10     gentlemen who were at the farm that have been given to

      11     me.   I'm just going to run over them.            Salvador

      12     Rodriguez Hernandez, Miguel Vaquez, Jose Rodriguez, and

      13     Wizberto Santiago Izarri.

      14                   Are you familiar with those names now?

      15           A.      That sounds like the crew.          Yes.

      16           Q.      Okay.    Now, were you aware that Salvador

      17     Rodriguez Hernandez had worked at the farm under a

      18     different name of Talon?

      19           A.      I don't know.

      20           Q.      Okay.    All right.     So was there any problems

      21     on Farm 8 with the Hispanic workers, to your knowledge,

      22     before the door incident at Farm 8?

      23           A.      In previous visits they would mention to me

      24     that they felt like they were doing more work than the

      25     rest of the staff on the farm, and they asked me to

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        1    talk to the manager about it.

        2          Q.      All right.     And when they say "rest of the

        3    staff," the only other staff was Mrs. Tennessee and Ms.

        4    Edwards?

        5          A.      Yes.     And not all four Hispanics.         I mean,

        6    the one that could speak a little English was the one

        7    that came up to me and said, I feel like I'm washing

        8    their rooms, I'm doing their work, why aren't they

        9    doing it, kind of thing.

      10                   And the manager sets the schedule.            I don't

      11     do that.

      12           Q.      Right.     Of course, Ms. Tennessee had worked

      13     for a long time.

      14           A.      Yes.

      15           Q.      Had she worked under you a long time?

      16           A.      Not a long time, but she had for I'd say

      17     about two years.        Yeah.   Something like that.

      18           Q.      Were you aware of her previous employment

      19     with Murphy Brown and the farms?

      20           A.      I knew she worked on other farms, but those

      21     farms were not my responsibility, so I knew her name

      22     and knew who she was.

      23           Q.      What type of worker was she, in your opinion,

      24     if you had one?

      25           A.      Very good.     She was interested in her

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        1    department.      When I would go through we'd interact and,

        2    you know, talk about things to improve and issues she

        3    was having in her department, and -- you know, and she

        4    helped, you know, manage the farm and control staff and

        5    things of that nature.

        6          Q.      And Ms. Edwards worked under her?

        7          A.      Yes.

        8          Q.      Okay.     Had you received any complaints about

        9    Ms. Edwards?

      10           A.      From?

      11           Q.      Anyone.     About employment around that

      12     timeframe that she worked under you other than the

      13     Mexican's saying, you know, the amount of work.

      14           A.      Oh, no.     No.

      15           Q.      Okay.     Had you known Ms. Edwards for a

      16     while --

      17           A.      Quite --

      18           Q.      -- before January '08?

      19           A.      Quite a few years.        Yes.

      20           Q.      All right.        Now, we get to your first

      21     learning about some holes in a door to the women's

      22     shower room.      I'm just going to bring you forward to

      23     that.      Tell me how you first learned about it.

      24           A.      The manager, Leigh Flournoy, called me that

      25     night.      I'm not sure if it was a Tuesday night or a

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        1    Wednesday night, but she called me like I'm going to

        2    say six p.m., something like that, it was after hours,

        3    and said the two ladies had just called her and said

        4    they found holes in the door and she wanted to report

        5    it to me.      So we talked on the phone for a few minutes.

        6    And what I instructed her to do was go to the farm

        7    early and caulk the holes in the door and -- because

        8    the farm is 20 years old, we did not know whether the

        9    holes were new or 20 years old.           So I said, Let's caulk

      10     them.      See if you can find them -- because the girls

      11     told her about where they were.           And she was to go in

      12     the next morning and caulk the holes, and that's what

      13     she did.

      14           Q.      Okay.    She reported back to you she had done

      15     that the next day?

      16           A.      The next morning, yes, we spoke.

      17           Q.      And what did you learn about what was going

      18     on at that time from Ms. Flournoy?

      19           A.      Well, she had got there -- she didn't get

      20     there early.      So when she got there I believe the

      21     ladies and maybe some of the guys, I'm not sure how it

      22     worked out, but they ended up realizing she had caulked

      23     the holes in the door.         And I didn't really want the

      24     whole staff to know so we wouldn't, one, realize that

      25     the holes were drilled again, we knew it was current

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        1    staff, not staff from 20 years or staff from five years

        2    ago or whatever.       So just trying to see what happened.

        3    And so all the staff found out, which I'm not sure what

        4    kind of disruption that made in the farm that morning,

        5    but they all knew we caulked the holes.              And she had

        6    told me she had caulked the holes, so --

        7           Q.     When was the next communication -- did you

        8    ever go out to look at the holes?

        9           A.     Yes.

      10            Q.     Was that the next morning or the next day or

      11     a couple days or what?

      12            A.     I believe it was the next day, but in the

      13     afternoon, maybe lunchtime, 1:00, somewhere midday.

      14            Q.     Had the holes been caulked at that point?

      15            A.     Yes.    She had did it in the morning.

      16                   MR. BREDEHOFT:      I'm sorry for interrupting.

      17                   MR. HOWELL:     Sure.    No.    Go ahead.

      18                   MR. BREDEHOFT:      I think it might be

      19     ambiguous, whether this is the day after the phone call

      20     or the next day after they reported back to work.                I

      21     think there's some ambiguity.

      22

      23     BY MR. HOWELL:

      24            Q.     Okay.    So you got the call in the evening at

      25     six?

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        1          A.      Uh-huh.

        2          Q.      You told her to caulk the holes then?

        3          A.      That morning -- the next morning.

        4          Q.      The next morning.       And she told you she had.

        5    And then did you go out that day to see they had been

        6    caulked or the following day?

        7          A.      I believe it was that day.

        8          Q.      That day.

        9          A.      Yes.

      10           Q.      Okay.

      11           A.      Yes.

      12           Q.      Okay.     What did you do when you arrived on

      13     the farm?

      14           A.      Walked in the front door to the time clock

      15     area, addressed the two ladies that were at the table

      16     doing paperwork and whatever.           Leigh was either in her

      17     office or in the hallway.          I spoke to Leigh on the

      18     men's side shower room.         She asked me, Do you want to

      19     see the holes?        I said, Yes, because we were discussing

      20     other issues not pertaining to the door.              So I walked

      21     around to the women's door shower, walked in through

      22     the shower, and Leigh showed me where the holes were

      23     that she caulked.

      24           Q.      And she had some pictures of the holes before

      25     they were caulked she had taken with her --

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        1          A.      On her phone, but -- I didn't see those, but

        2    I saw where the caulk was.

        3          Q.      All right.

        4          A.      Yeah.

        5          Q.      Did you do anything or say anything after you

        6    saw them?

        7          A.      With Leigh --

        8          Q.      Yeah.

        9          A.      -- or --

      10           Q.      Or any of the Mexican -- you didn't speak to

      11     the Mexicans?

      12           A.      They weren't up there.         No.   No.

      13           Q.      Okay.    So how about with Leigh?          What did you

      14     all talk about?       Anything after that?

      15           A.      We just talked about caulking holes on the

      16     door.      Wanted to see if there was, you know, any other

      17     issues that needed to be addressed.            We felt like the

      18     holes were caulked, it's a concealed door again, and

      19     didn't really do anything else after that.               I mean, I

      20     reported to HR that we had caulked the holes, so they

      21     knew, but, I mean, we didn't do anything else.                And we

      22     were standing there talking and Bridget and Felicia

      23     were at the table, which was 18, 20 feet away maybe,

      24     and then they never came back there to ask me questions

      25     about the door.

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        1           Q.     All right.

        2           A.     So when I got done with Leigh I just left and

        3    called HR and told them what we did.

        4           Q.     Did anyone tell you around that time about

        5    Salvador Rodriguez Hernandez being caught by the door

        6    by the ladies?

        7           A.     That was part of the conversation from Leigh,

        8    yes --

        9           Q.     Okay.

      10            A.     -- that they had opened the door and there he

      11     was.

      12            Q.     All right.     I take it just you didn't go over

      13     to Bridget and Felicia to say, What happened, or to

      14     interview them at that point?           Because they hadn't come

      15     over to you, you didn't go over to them and you just

      16     left?

      17            A.     Yeah.

      18            Q.     Okay.    What's your next involvement with the

      19     door incident?        A call the next day from Leigh Flournoy

      20     or --

      21            A.     I reported to HR what we did with caulking

      22     the door.     Leigh called me back maybe the next day or

      23     the day after --

      24            Q.     Okay.    That's fine.

      25            A.     -- I'm not really sure, and said Bridget and

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        1    Felicia said the door was not satisfactory.               I said,

        2    Okay.

        3                  So I told her -- I instructed her then to

        4    take a towel and put over the door so if they drilled a

        5    hole in the door you're not going to get through the

        6    towel.     So they could drill, it wouldn't be a problem.

        7    I would definitely know it was, you know, people on the

        8    farm at this time.        And so we did that.

        9                  And I believe it may have been the same day

      10     or the next day that the ladies again said that was not

      11     satisfactory.        And I guess a few days later we replaced

      12     the whole door.

      13           Q.      Okay.    Was that after they came up here and

      14     spoke with you and someone from Human Resources?

      15           A.      The door replacement?

      16           Q.      Yeah.

      17           A.      I'm not sure.      It was pretty -- it was one or

      18     the other.     You know, it could have been before and it

      19     could have been after.         I'm not sure.

      20           Q.      Okay.    So at one morning around that time

      21     Felicia Tennessee and Bridget Edwards came to Human

      22     Resources about what had happened?

      23           A.      (Moved head up and down.)

      24           Q.      And you were in on that meeting?

      25           A.      Yes.

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        1           Q.     Okay.     How did you know -- what was told to

        2    you that morning that got you here?            Maybe you're here

        3    all the time, but had you heard they were coming before

        4    they came?

        5           A.     Yes.    I got a call, I believe it was from

        6    Leigh, saying that Bridget and Felicia were on their

        7    way up here.

        8           Q.     Okay.

        9           A.     It could have been Ms. Brooks, but, yeah, I

      10     knew they were coming.         So I was upstairs doing my

      11     weekly paperwork and stuff I had to do on that certain

      12     day.

      13            Q.     All right.     So they arrived here in the

      14     morning?

      15            A.     Uh-huh.

      16            Q.     What happened of significance, you know, in

      17     terms of --

      18            A.     Me and Ms. Brooks and Bridget and Felicia

      19     went into the smaller conference room, and Laura just

      20     interviewed, you know, both of them and got their

      21     statements of, you know, what was happening.               And

      22     that's when we got into more details on the door, more

      23     details on the touching arms and maybe feet under the

      24     table kind of stuff that was going on.             And when we

      25     were done -- Laura, you know, took notes the whole

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        1    time.      When we were done the ladies asked to not go

        2    back to Farm 8.       And we said, okay, we'd have to let

        3    them know which farms because I didn't know on the spur

        4    of the moment where I would transfer them to.               And when

        5    they left Felicia asked not to go to one farm because

        6    of one person she didn't get along with.              And we said,

        7    Okay.      And Laura said she would call them that night or

        8    later that afternoon, because this was, you know, 10:00

        9    in the morning, whatever, and we would let them know

      10     where to report the next day.

      11           Q.      Can you remember any other details of what

      12     happened -- what was said in the conversation with

      13     Felicia and Bridget when you were there with

      14     Ms. Brooks?

      15           A.      There was -- well, foots under the table,

      16     rubbing the feet, whatever.          There was walking past I

      17     guess while they were sitting in their chair and just

      18     nudge them on the shoulder was mentioned.              And then

      19     saying things in Spanish, which I don't know what they

      20     were, but saying things that wasn't nice, I reckon -- I

      21     don't know Spanish, but I think they know a little bit

      22     being on the farm with the guys every day -- that they

      23     took offense at.

      24           Q.      Okay.    Were the ladies upset?

      25           A.      Yes.

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        1          Q.      Did these employees on 6, 7, and 8, the

        2    Hispanic ones, ride to work together, if you know?

        3          A.      They all have to.        Most of them have one car

        4    and some have two.        So some drive.      Some hitch rides.

        5    That's -- anybody does that.

        6          Q.      Do the Hispanics know each other?

        7                  MR. BREDEHOFT:        Foundation.

        8

        9    BY MR. HOWELL:

      10           Q.      Yeah.     Okay.

      11                   Based on your observations, did the Hispanics

      12     from 6, 7, and 8 know each other and not only on the

      13     farm but off the farm in terms of they rode together or

      14     you saw them talking together or you knew they lived in

      15     the same place or anything like that?

      16           A.      I don't know.        I mean, they could.      I don't

      17     know.

      18           Q.      All right.        Do you remember suggesting to

      19     Mrs. Tennessee and Ms. Edwards that they might have put

      20     the holes in the door?

      21           A.      Yes.

      22           Q.      You did say that to them?

      23           A.      Uh-huh.

      24           Q.      Why did you say that?

      25           A.      Because I know the days before -- that there

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        1    had been a complaint the day before to HR from the

        2    Hispanic guys about the two ladies, I guess about the

        3    workload, so they called the HR rep.             I don't remember

        4    his name.     And he came to the farm and spoke to the

        5    gentlemen on the farm.         And then, like I said, the very

        6    next day here comes the holes in the door.              And not

        7    knowing who did it, it could have been anybody.                It

        8    could have been them.        It could have been the guys on

        9    the farm.     It could have been the guys we employed five

      10     and ten years ago.        So it could have been anybody.            So

      11     that's why we wanted to find out if there was any more

      12     holes drilled after we caulked them to at least

      13     designate that it was the staff on that site.

      14           Q.      But I'm trying to get why -- why would you

      15     include Mrs. Tennessee and Ms. Edwards among the

      16     potential suspects who would have put the holes in the

      17     door?

      18           A.      Because the day before the gentlemen had did

      19     a complaint against them, and it could have been

      20     retaliation.      I don't know.      I wasn't involved in

      21     either of the conversations, but I didn't know.

      22           Q.      Well, all right.       Well, what do you know

      23     about the complaint or the concerns of work sharing by

      24     the Hispanic workers at Farm 8?           What do you know about

      25     those complaints, if anything, you know, besides what

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        1    you've said?        If anything.    I don't know.      You may have

        2    reported all that you know, but do you know anything

        3    else about that?

        4          A.      The biggest complaint was that on wean day,

        5    when we take the babies from the mothers to the

        6    nursery, was that the guys were doing all the weaning.

        7    And then they would in turn end up having to wash the

        8    two rooms that was the ladies' responsibility.                And the

        9    guys didn't understand why they're washing their

      10     department and they already have to wash their own

      11     department.      And they felt, well, we're in there

      12     weaning the pigs and the ladies would disappear.

      13     Whether she wanted to go to the rest room or go check

      14     on the pigs, they don't know where the ladies went, or

      15     one of them went.        And they said, We're in here doing

      16     their job.     And they felt that was the biggest thing.

      17           Q.      That's what the translator told you?

      18           A.      That's what one of the guys said.

      19           Q.      Through the translator?

      20           A.      No.     The one that could speak some English to

      21     me.

      22           Q.      Okay.

      23           A.      The rest of them don't talk to you.

      24           Q.      Right.     But at that point in time did you

      25     consider the long-term employment history between Ms.

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        1    Edwards and Mrs. Tennessee and Murphy Brown compared to

        2    the Hispanic workers?

        3          A.      Compared to the complaint?

        4          Q.      Compared to the four Hispanic -- the one who

        5    talked to you about he didn't like cleaning up theirs.

        6          A.      Right.

        7          Q.      I mean, did you have in your mind the length

        8    of work employment of these two when you suggested they

        9    may have put the holes in the door?            Were you thinking

      10     about how long they had worked for Murphy Brown as good

      11     employees --

      12           A.      Right.

      13           Q.      -- when you suggested they might have put the

      14     holes in the door?        Were you thinking of that at that

      15     time --

      16           A.      No.

      17           Q.      -- or just --

      18           A.      No.   Just that -- the fact that we had had a

      19     complaint the day before and the very next day we got

      20     holes in the door.        That was the only deal that -- I

      21     wasn't, you know, somebody been here ten years, 20

      22     years.     That didn't come into play, no.

      23           Q.      Did you take any action against the four

      24     Hispanic male workers working on Farm 8 at the time of

      25     the incident?

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        1          A.      Like disciplinary or --

        2          Q.      Anything.

        3          A.      No.     Turned it over to HR.       They were going

        4    to do an investigation.

        5          Q.      When was the last -- when was the next time

        6    you heard something related to the incident within your

        7    purview of work?

        8          A.      I don't understand.

        9          Q.      I mean, well, did you hear anything about the

      10     incident from HR or Leigh Flournoy before you learned

      11     that Salvador Rodriguez Hernandez had been arrested?

      12           A.      No.

      13           Q.      How did you come to learn he had been

      14     arrested?

      15           A.      Possibly Leigh called me and said they just

      16     -- yeah, I think that, They just came and arrested

      17     Salvador.

      18                   And I'm not sure how many days or a week

      19     later that was after the issue.

      20           Q.      Okay.     Well, did you learn what happened to

      21     Salvador after he was arrested?

      22           A.      Heard he was arrested, put in jail for three

      23     or four days, and went to the judge, I guess, and said,

      24     Guilty, or whatever he said.          He apparently had did it,

      25     I guess.     I don't know.      I wasn't there.

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        1          Q.      Someone told you he pled guilty --

        2          A.      Yeah.

        3          Q.      -- to peeping?

        4          A.      I don't know what.       I guess he said guilty to

        5    whatever they were addressing him or -- or arrested him

        6    for, I guess.

        7          Q.      Did you ever make a determination of who put

        8    the holes in the door?

        9          A.      No, sir.

      10           Q.      Did you have any facts to dispute that

      11     Salvador Rodriguez Hernandez was guilty of the charge?

      12           A.      No.

      13           Q.      Do you know whether he worked between the

      14     time he bailed out and actually pled guilty?

      15           A.      I thought it was the same day.           I thought

      16     that was how he got out.

      17           Q.      How long was it between the incident and when

      18     he was taken away by the police?            A couple weeks?

      19           A.      I don't think it was that long.           A week, ten

      20     days.      It seems like it was pretty quick.          It wasn't a

      21     long time, no.

      22           Q.      Did his arrest and pleading guilty, to your

      23     knowledge, prompt any further investigation into the

      24     door incident?

      25           A.      I know HR was still looking into it, but you

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        1    mean like police issues?

        2          Q.      Or anything.

        3          A.      I don't know.      I know they were still

        4    investigating it, but that's all I know.

        5          Q.      Okay.    At any point did they communicate to

        6    you any findings relating to -- well, I take it

        7    Salvador Rodriguez Hernandez -- did he come back to

        8    work after pleading guilty?

        9          A.      I think he did.       I think he was on the farm

      10     for a day or two and then we terminated him.               I believe

      11     that's right.

      12           Q.      And what was the basis for the termination?

      13           A.      I'm assuming because he pled guilty to the

      14     action.

      15           Q.      Are you aware of any disciplinary action

      16     towards the other three who remained?

      17           A.      Not that I'm aware of, no.

      18           Q.      And this is important.         Are you positive Ken

      19     Bunn never came to you with any complaint from Joyce

      20     Nichols that on a weekend a Hispanic male worker had

      21     put his hands on her?

      22           A.      I just don't remember that, no.

      23           Q.      Would that have been something that would

      24     have resulted in a record and a report to Human

      25     Resources?

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        1          A.      Oh, yes.

        2          Q.      Would Ken Bunn be a better person to talk to

        3    about it?

        4          A.      Probably so, yes.

        5                  MR. HOWELL:     Okay.    That's it for me.

        6

        7                            EXAMINATION

        8

        9    BY MR. BREDEHOFT:

      10           Q.      Did you ever laugh at either Ms. Tennessee or

      11     Ms. Edwards because they were complaining?

      12           A.      Not that I'm aware of, no.

      13           Q.      Did you laugh at their complaints?

      14           A.      No.

      15           Q.      Did you make fun of them?

      16           A.      No.

      17           Q.      Did you take it seriously?

      18           A.      Yes.

      19           Q.      And you consider it's a serious matter,

      20     right?

      21           A.      Yes, sir.

      22           Q.      Okay.    We talked a little bit about the day

      23     after the complaint phone calls of the first evening.

      24     And then you said you reported to HR that the holes had

      25     been caulked.        Was that the first time you spoke to HR

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        1    about the complaint or had you talked to them earlier?

        2           A.     I spoke to them that next morning and

        3    informed Laura of the holes in the door and then -- and

        4    let her know that we had patched the holes.               So she

        5    heard about it first and then I guess that second phone

        6    call later.

        7           Q.     Okay.    Mr. Salvador Rodriguez Hernandez

        8    coming back to work after he pled guilty, are you sure

        9    he came back to work after he pled guilty?

      10            A.     I'm not sure.      I didn't see him.

      11            Q.     Okay.

      12            A.     I thought they pulled him to the office to

      13     terminate him.        I think that's what happened.

      14                   MR. BREDEHOFT:      I have nothing further.

      15                   MR. HOWELL:     Okay.    Thank you.

      16                   MR. BREDEHOFT:      He'll read and sign.         Thank

      17     you.

      18

      19                                      (Signature not waived.)

      20

      21                    (The deposition was concluded at 1:15 p.m.)

      22

      23

      24

      25

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        1                          DEPOSITION ERRATA SHEET

        2

        3    Case Caption:      Bridget Edwards v. Murphy Brown, L.L.C.,

        4        and Felicia D. Tennessee v. Murphy Brown, L.L.C.

        5    Deponent:          Lewis Epps

        6    Deposition Date:       August 5, 2011

        7
                     I have read the entire transcript of my
        8    deposition taken in the captioned matter or the same
             has been read to me. I request that the following
        9    changes be entered upon the record for the reasons
             indicated. I have signed my name to the Errata Sheet
      10     and the appropriate Certificate and request both to be
             attached to the original transcript.
      11
             Page/Line Nos.        Correction/Reason
      12     _____________         _____________________________________

      13     _____________         _____________________________________

      14     _____________         _____________________________________

      15     _____________         _____________________________________

      16     _____________         _____________________________________

      17     _____________         _____________________________________

      18     _____________         _____________________________________

      19     _____________         _____________________________________

      20     _____________         _____________________________________

      21     _____________         _____________________________________

      22     _____________         _____________________________________

      23     _____________         ____________________________________

      24     Signature:___________________________ Date: _________
                              LEWIS EPPS
      25

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        1                       CERTIFICATE OF DEPONENT

        2    COMMONWEALTH OF VIRGINIA
             CITY OF _________________
        3
                   Before me, this day, personally appeared LEWIS EPPS,
        4    who, being duly sworn, states that the foregoing transcript
             of this deposition, taken in the matter, on the date and at
        5    the place set out on the title page hereof, constitutes a
             true and complete transcript of said deposition.
        6

        7                                ---------------------------
                                             LEWIS EPPS
        8
                   SUBSCRIBED and SWORN to before me this _______
        9    day of ______________, 2011, in the jurisdiction aforesaid.

      10     _______________________          ___________________________
             My Commission Expires            Notary Public
      11
      12

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        1    COMMONWEALTH OF VIRGINIA AT LARGE, to wit:

        2            I, Kathleen Beard Adams, RPR, CCR, a Notary
             Public for the Commonwealth of Virginia at large, of
        3    qualification in the Circuit Court of the City of
             Virginia Beach, Virginia, and whose commission expires
        4    August 31, 2014, do hereby certify that the within
             named deponent, LEWIS EPPS, appeared before me at
        5    Waverly, Virginia, as hereinbefore set forth, and after
             being first duly sworn by me, was thereupon examined
        6    upon his oath by counsel for the respective parties;
             that his examination was recorded in Stenotype by me
        7    and reduced to computer printout under my direction;
             and that the foregoing constitutes, to the best of my
        8    ability, a true, accurate, and complete transcript of
             such examination.
        9
                      I further certify that I am not related to nor
      10     otherwise associated with any counsel or party to this
             proceeding, nor otherwise interested in the event
      11     thereof.

      12             Given under my hand and notarial seal this 16th
             day of August, 2011.
      13

      14

      15

      16                                   _________________________
                                              Notary Public
      17                           Certified Court Reporter No. 0313086

      18

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